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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )               CASE NO.      CR 05-391 RSM
                                 )
12         v.                    )
                                 )
13                               )               DETENTION ORDER
    MICHAEL R. COX,              )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged: CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCES
17
18 Date of Detention Hearing: November 23, 2005
19            The Court, having conducted a contested detention hearing pursuant to Title 18
20 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
21 hereafter set forth, finds that no condition or combination of conditions which the defendant
22 can meet will reasonably assure the appearance of the defendant as required and the safety
23 of any other person and the community.
24 The Government was represented by Ron Friedman and Rich Cohen.
25 The defendant was represented by Carol Koller.
26


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 1      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2         (1)   There is probable cause to believe the defendant committed the drug
 3               offense of Conspiracy to Distribute Controlled Substances.
 4               The maximum penalty is in excess of ten years.
 5               There is therefore a rebuttable presumption against the defendant’s
 6               release based upon both dangerousness and flight risk, under Title 18
 7               U.S.C. § 3142(e).
 8         (2)   Nothing in this record satisfactorily rebuts the presumption against
 9               release for several reasons: Using the factors below, under Title 18 §
10               3142 (g), the Court considered the following:
11               (a)    The nature and circumstances of the offense charged, including
12                      whether the offense is a crime of violence or involves a narcotic
13                      drug. Here, the Defendant Michael Cox is alleged to have
14                      assisted co-defendant Ian Fuhr, the leader of this conspiracy to
15                      distribute cocaine, cocaine base and oxycodone and marijuana.
16                      This conspiracy was investigated through the use of a court-
17                      authorized wiretap. On the wiretap defendant Cox is heard to
18                      have used the numerous false names and to have employed others
19                      to use false names for the illegal purchase of oxycodone.
20               (b)    The weight of the evidence. From the evidence taken by court-
21                      authorized wiretap demonstrates that the weight of the
22                      Government’s evidence against this defendant is strong.
23               (c)    The history and characteristics of the person, including:
24                      The person’s character, physical and mental condition, family
25                      ties, employment, financial resources, length of residence in the
26                      community, community ties, past conduct, history relating to drug

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 1                      or alcohol abuse, criminal history, record concerning appearance
 2                      at court proceedings, and whether at the time of the current
 3                      offense or arrest, the person was on probation, on parole, on
 4                      other release pending trial, sentencing, appeal, or completion of
 5                      sentence of an offense under Federal, State, or local law. The
 6                      Government argues that the role this defendant played in the
 7                      conspiracy was significant inasmuch s he was the purveyor and
 8                      manufacturer of false Washington identification cards to be used
 9                      in furtherance of the conspiracy.
10               d)     Risk of danger to the community.
11                      Here the government argues that in addition to the risk of
12                      continued involvement in drug sales and trafficking, this
13                      defendant poses a danger of committing violent crimes against
14                      others. This alleged offense appears to have occurred while the
15                      defendant was awaiting entry/acceptance into state drug court.
16         (3)   Based upon the foregoing information which is consistent with the
17               recommendation of U.S. Pre-trial Services, it appears that there is no
18               condition or combination of conditions that would reasonably assure
19               future Court appearances and/or the safety of other persons or the
20               community.
21
22         It is therefore ORDERED:
23         (l)   The defendant shall be detained pending trial and committed to the
24               custody of the Attorney General for confinement in a correction facility
25               separate, to the extent practicable, from persons awaiting or serving
26               sentences or being held in custody pending appeal;

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 1         (2)   The defendant shall be afforded reasonable opportunity for private
 2               consultation with counsel;
 3         (3)   On order of a court of the United States or on request of an attorney for
 4               the Government, the person in charge of the corrections facility in which
 5               the defendant is confined shall deliver the defendant to a United States
 6               Marshal for the purpose of an appearance in connection with a court
 7               proceeding; and
 8         (4)   The clerk shall direct copies of this order to counsel for the United
 9               States, to counsel for the defendant, to the United States Marshal, and to
10               the United States Pretrial Services Officer.
11         DATED this 25th day of November, 2005.
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15                                                  MONICA J. BENTON
                                                    United States Magistrate Judge
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